USCA Case #22-5301     Document #1990806     Filed: 03/20/2023   Page 1 of 3



                  ORAL ARGUMENT NOT YET SCHEDULED
                               No. 22-5301
                                   IN THE
                     United States Court of Appeals
                   for the District of Columbia Circuit
                      UNITED STATES OF AMERICA, et al.,
                                          Plaintiffs-Appellants,
                                      v.
                      UNITEDHEALTH GROUP INC., et al.,
                                         Defendants-Appellees.

                           On Appeal from the
        United States District Court for the District of Columbia,
               No. 1:22-cv-00481 (Hon. Carl J. Nichols)

                 STIPULATION OF VOLUNTARY DISMISSAL



     IT IS HEREBY STIPULATED AND AGREED by and between the

parties that the above-captioned appeal be voluntarily dismissed

pursuant to Federal Rule of Appellate Procedure 42(b)(1).

     To the extent each party has incurred any costs associated with

the above-captioned appeal, see 28 U.S.C. § 1920, each party shall bear

its own costs.
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Dated: March 20, 2023

                                      Respectfully submitted,

/s/ Craig Primis                      /s/ Andrew DeLaney
CRAIG S. PRIMIS                       DANIEL E. HAAR
K. WINN ALLEN                         NICKOLAI G. LEVIN
KIRKLAND & ELLIS LLP                  ANDREW N. DeLANEY
1301 Pennsylvania Ave., N.W.            Attorneys
Washington, DC 20004                  U.S. Department of Justice
(202) 879-5000                        Antitrust Division
cprimis@kirkland.com                  950 Pennsylvania Ave., N.W.
                                      Washington, DC 20530
Counsel for Appellees                 (202) 598-2846
                                      andrew.delaney@usdoj.gov

                                      /s/ Elizabeth Odette
                                      OFFICE OF THE MINNESOTA
                                      ATTORNEY GENERAL
                                      CONSUMER, WAGE AND
                                      ANTITRUST DIVISION
                                      445 Minnesota St., Suite 1400
                                      St. Paul, MN 55101
                                      (651) 296-3353
                                      elizabeth.odette@ag.state.mn.us

                                      /s/ Olga Kogan
                                      NEW YORK STATE OFFICE OF
                                      THE ATTORNEY GENERAL
                                      28 Liberty St.
                                      New York, NY 10005
                                      (212) 816-8262
                                      olga.kogan@ag.ny.gov

                                      Counsel for Appellants




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                     CERTIFICATE OF SERVICE
     I hereby certify that on this 20th day of March, 2023, I filed the

foregoing Stipulation of Voluntary Dismissal through the Court’s

CM/ECF system, which will send a notice of filing to all registered

CM/ECF users.



Dated: March 20, 2023                  /s/ Andrew DeLaney
                                       Andrew N. DeLaney
